                                                                      Case 8:18-bk-13197-CB          Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                        Desc
                                                                                                      Main Document    Page 1 of 21


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                                                                  5         [Proposed] Attorneys for Ruby’s SoCal Diners, LLC, et al.,
                                                                            Debtors and Debtors-in-Possession
                                                                  6
                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                  7

                                                                  8                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                  9                                               SANTA ANA DIVISION
                                                                 10

                                                                 11     In re:                                                  Case Nos.: 8:18-bk-13197-CB; 8:18-bk-13198-CB;
                                                                                                                                8:18-bk-13199-CB; 8:18-bk-13200-CB; 8:18-bk-
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                                                                 12     RUBY’S SOCAL DINERS, LLC,                               13201-CB; 8:18-bk-13202-CB;
                                                                        a Delaware limited liability company, et al.,1
                                                                                                                                Chapter 11
                                        COSTA MESA, CALIFORNIA




                                                                 13
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                                                                                         Debtors and Debtors-in
                                                                 14                      Possession,                            NOTICE OF EMERGENCY MOTION AND
                                                                                                                                EMERGENCY MOTION FOR ORDER
                                                                 15     Affects:                                                PURSUANT TO 11 U.S.C. §§ 105(a) AND 366:
                                                                                                                                (I) PROHIBITING UTILITY COMPANIES
                                                                 16           All Debtors                                       FROM ALTERING, REFUSING, OR
                                                                                                                                DISCONTINUING SERVICE, (II)
                                                                 17           RUBY’S SOCAL DINERS, LLC, ONLY                    DETERMINING ADEQUATE ASSURANCE
                                                                                                                                OF PAYMENT FOR FUTURE UTILITY
                                                                 18                                                             SERVICES, AND (III) ESTABLISHING
                                                                              RUBY’S QUALITY DINERS, LLC,                       PROCEDURES FOR DETERMINING
                                                                 19                                                             ADEQUATE ASSURANCE OF PAYMENT;
                                                                        ONLY                                                    AND MEMORANDUM OF POINTS AND
                                                                 20                                                             AUTHORITIES IN SUPPORT THEREOF
                                                                              RUBY’S HUNTINGTON BEACH, LTD.,
                                                                 21                                                              [Declaration of Douglas S. Cavanaugh in Support
                                                                                                                                 of First Day Motions filed concurrently herewith]
                                                                        ONLY
                                                                 22
                                                                                                                                 Date:        August 31, 2018
                                                                 23           RUBY’S LAGUNA HILLS, LTD. ONLY                     Time:        10:00 a.m.
                                                                                                                                 Place:       Courtroom 5D
                                                                 24           RUBY’S OCEANSIDE, LTD., ONLY                                    411 West Fourth Street
                                                                                                                                              Santa Ana, CA 92701
                                                                 25           RUBY’S PALM SPRINGS, LTD., ONLY
                                                                 26

                                                                 27
                                                                        1
                                                                         The last four digits of the Debtors’ federal tax identification numbers are as follows: Ruby’s SoCal Diners, LLC
                                                                 28     (9782); Ruby’s Quality Diners, LLC (1539); Ruby’s Huntington Beach, Ltd. (1331); Ruby’s Laguna Hills, Ltd. (6603);
                                                                        Ruby’s Oceanside, Ltd. (9104); and Ruby Palm Springs, Ltd. (9627).

                                                                                                                               -1-
                                                                      Case 8:18-bk-13197-CB                         Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                                                      Desc
                                                                                                                     Main Document    Page 2 of 21


                                                                  1
                                                                                                                                      TABLE OF CONTENTS
                                                                  2
                                                                                                                                                                                                                                      Page
                                                                  3
                                                                        I.         STATEMENT OF FACTS ......................................................................................................................... 6
                                                                  4
                                                                        II.        THE UTILITY COMPANIES AND PROPOSED UTILITY PROCEDURES ......................................... 6
                                                                  5
                                                                              A.      The Utility Companies ........................................................................................................................... 6
                                                                  6
                                                                              B.      Proposed Utility Procedures ................................................................................................................... 7
                                                                  7

                                                                  8     III.          THE PROCEDURES OUTLINED IN THIS MOTION ARE NECESSARY AND APPROPRIATE

                                                                  9     TO PREVENT INTERRUPTION OF UTILITY SERVICES TO THE DEBTORS ........................................ 10

                                                                 10           A.      The Proposed Utility Deposits Constitute Adequate Assurance of Future Performance for the Utility

                                                                 11           Companies..................................................................................................................................................... 10
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                 12           B.      The Procedures Proposed by the Debtors Properly Balance the Interests of the Utility Companies and
                                        COSTA MESA, CALIFORNIA




                                                                 13           those of the Debtors ...................................................................................................................................... 12
                                          ATTORNEYS AT LAW




                                                                 14           C.      Waiver of the Stay Is Appropriate ........................................................................................................ 13
                                                                 15     IV.           CONCLUSION .................................................................................................................................... 14
                                                                 16

                                                                 17

                                                                 18

                                                                 19

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                                                                 28


                                                                                                                                                         -i-
                                                                      Case 8:18-bk-13197-CB                   Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                                             Desc
                                                                                                               Main Document    Page 3 of 21


                                                                  1     Cases
                                                                        In re Best Products,
                                                                  2         203 B.R. 51, 54 (Bankr. E.D. Va. 1996) ........................................................................................ 11
                                                                        In re Crystal Cathedral Ministries,
                                                                  3        454 B.R. 124,131 (Bankr. C.D. Cal. 2011)..................................................................................... 11
                                                                        In re Magnesium Corp. of America,
                                                                  4        278 B.R. 698, 714 (Bankr. S.D.N.Y. 2002) .................................................................................... 11
                                                                        In re Pacific Gas & Elec. Co.,
                                                                  5        271 B.R. 626, 644 (N.D. Cal. 2002) ............................................................................................... 10
                                                                        In re Penn Jersey Corp.,
                                                                  6        72 B.R. 981, 985 (Bankr. E.D. Pa. 1987) ....................................................................................... 11
                                                                        In re Steinbach,
                                                                  7        303 B.R. 634, 641 (Bankr. D. Az. 2004) ........................................................................................ 10
                                                                        Virginia Elec. & Power Co. v. Caldor,
                                                                  8        117 F.3d 646 650 (2d Cir. 1997)..................................................................................................... 11
                                                                  9     Statutes
                                                                        11 U.S.C. § 1107(a) .............................................................................................................................. 6
                                                                 10     11 U.S.C. § 1108 ................................................................................................................................... 6
                                                                        11 U.S.C. § 366 ....................................................................................................................... 11, 12, 13
                                                                 11     11 U.S.C. § 366(3)(A)......................................................................................................................... 10
                                                                        11 U.S.C. § 366(b) ........................................................................................................................ 10, 13
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                 12     11 U.S.C. § 366(c) .......................................................................................................................... 9, 10
                                                                        11 U.S.C. § 366(c)(2).......................................................................................................................... 10
                                        COSTA MESA, CALIFORNIA




                                                                 13     11 U.S.C. § 366(c)(3)...................................................................................................................... 8, 10
                                          ATTORNEYS AT LAW




                                                                        11 U.S.C. § 366(c)(3)(A) .................................................................................................................... 13
                                                                 14     11 U.S.C. § 366(c)(3)(B) .................................................................................................................... 10
                                                                        11 U.S.C. §§ 366 (3)(B)(iii) ................................................................................................................ 11
                                                                 15     11 U.S.C. §§ 366(c)(1)(A)(B) ............................................................................................................. 11
                                                                        28 U.S.C. § 157(b)(2) ........................................................................................................................... 6
                                                                 16     28 U.S.C. §§ 1334 ................................................................................................................................. 6
                                                                        28 U.S.C. §§ 1408 ................................................................................................................................. 6
                                                                 17     28 U.S.C. §§ 1409 ................................................................................................................................. 6
                                                                        28 U.S.C. §§ 157 ................................................................................................................................... 6
                                                                 18     U.S.C. § 105(a) ................................................................................................................................... 13
                                                                        Other Authorities
                                                                 19     2 COLLIER ON BANKRUPTCY ¶ 105.01 (15th rev. ed. 2001) ...................................................... 13
                                                                 20     Rules
                                                                        Fed. R. Bankr. P. 6004(h) .................................................................................................................. 13
                                                                 21

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                                                                                                                                               - ii -
                                                                      Case 8:18-bk-13197-CB           Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                       Desc
                                                                                                       Main Document    Page 4 of 21


                                                                  1      TO THE HONORABLE CATHERINE E. BAUER, UNITED STATES BANKRUPTCY

                                                                  2      JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, THE 20 LARGEST

                                                                  3      UNSECURED CREDITORS, SECURED CREDITORS AND OTHER PARTIES IN

                                                                  4      INTEREST:

                                                                  5               PLEASE TAKE NOTICE that Ruby’s SoCal Diners, LLC, a Delaware limited liability

                                                                  6      company (“SoCal Diners”); Ruby’s Quality Diners, LLC, a Delaware limited liability company

                                                                  7      (“Quality”); Ruby’s Huntington Beach, Ltd., a California limited partnership (“Ruby’s Huntington

                                                                  8      Beach”); Ruby’s Laguna Hills, Ltd., a California limited partnership (“Ruby’s Laguna Hills”);

                                                                  9      Ruby’s Oceanside, Ltd., a California limited partnership (“Ruby’s Oceanside”); and Ruby’s Palm

                                                                 10      Springs, Ltd., a California limited partnership (“Ruby’s Palm Springs”) (collectively, the

                                                                 11      “Debtors”) hereby move pursuant to sections 105(a) and 366 of title 11 of the United States Code
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                                                                 12      (the “Bankruptcy Code”), providing the following relief: (i) prohibiting the utility providers utilized
                                        COSTA MESA, CALIFORNIA




                                                                 13      by the Debtors (collectively, the “Utility Companies” and each individually a “Utility Company”)
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                                                                 14      from altering, refusing, or discontinuing service to the Debtors without further order of the Court,

                                                                 15      (ii) determining adequate assurance of payment for future utility services, and (iii) establishing

                                                                 16      procedures for determining adequate assurance of payment (the “Motion”).

                                                                 17             Pursuant to section 366 of the Bankruptcy Code, the Debtors seek a determination that (a) a

                                                                 18     deposit in a segregated account of an amount equal to approximately one month of the estimated

                                                                 19     average monthly cost2 for services provided to the Debtors by each Utility Company (the “Utility

                                                                 20     Deposit”), (b) the ability of any Utility Company to obtain an initial hearing on the adequacy of the

                                                                 21     Utility Deposit, and (c) the ability of any Utility Company to obtain an expedited hearing regarding

                                                                 22     further adequate assurance if there is a failure to cure a postpetition payment default within

                                                                 23     twenty-one (21) days after written notice of such default (collectively, the “Proposed Adequate

                                                                 24     Assurance”), constitute adequate assurance of payment for future utility services. For expediency,

                                                                 25     the Debtors proposes to limit the Utility Deposits required to only those Utility Companies whose

                                                                 26     Utility Deposit would exceed $250.

                                                                 27

                                                                 28     2
                                                                          The average monthly cost amount was determined by averaging the most recent monthly bills received from each
                                                                        Utility Company over the past 12 months.

                                                                                                                               -2-
                                                                      Case 8:18-bk-13197-CB              Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                               Desc
                                                                                                          Main Document    Page 5 of 21


                                                                  1                The Debtors receive essential utility services from a number of utility companies. A list of

                                                                  2     the Utility Companies, the type of utility service received and the Debtors’ utility accounts is

                                                                  3     attached hereto as Exhibit A.3

                                                                  4                At this critical time, uninterrupted water, electricity, gas, trash, sewer, local and long distance

                                                                  5     telephone services, cable, and internet services are essential to the ongoing operations of the

                                                                  6     Debtors’ business and to the preservation of the value thereof. Any interruption, however brief, in

                                                                  7     utility services to the Debtors’ facilities or to the Debtors’ employees will irreparably disrupt the

                                                                  8     Debtors’ business operations. It is therefore critical that the Court prohibit the Utility Companies

                                                                  9     from altering, refusing, or discontinuing service to the Debtors without further order of this Court.

                                                                 10     The Deposit for each of the Utility Companies coupled with the streamlined mechanism for

                                                                 11     requesting further adequate assurance described in the attached Memorandum of Points and
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                                                                 12     Authorities provides adequate assurance of payment to the Utility Companies and safeguards the
                                        COSTA MESA, CALIFORNIA




                                                                 13     Debtors’ continuing business operations. The Court should therefore grant the relief requested in the
                                          ATTORNEYS AT LAW




                                                                 14     Motion in its entirety.

                                                                 15                The Debtors request that the relief sought herein be granted on an emergency basis because

                                                                 16     uninterrupted utilities are essential to the Debtors’ continuing business operations, certainty as to the

                                                                 17     amount of the deposits provides the Debtors’ business stability at this critical time, and section 366

                                                                 18     of the Bankruptcy Code sets forth a short time frame for resolving disputes with utility companies.

                                                                 19     Further, because the Debtors are concurrently with this Motion filing other motions seeking relief in

                                                                 20     connection with other matters and will in all likelihood file various other motions during the first

                                                                 21     days of these Cases (as defined below), the Debtors, pursuant to Rule 2081-1(a)(3) of the Local

                                                                 22     Bankruptcy Rules of the United States Bankruptcy Court for the Central District of California,

                                                                 23     effective February 1, 2017 (the “Local Bankruptcy Rules”),4 request that this Motion be heard on an

                                                                 24     emergency basis. Granting the relief requested in this Motion on an emergency basis will benefit the

                                                                 25

                                                                 26     3
                                                                          Although the Debtors believe that the list of Utility Companies set forth in Exhibit A hereto is complete, the Debtors
                                                                        reserve the right to supplement such list if it determines that any utility company has been omitted. The Debtors further
                                                                 27     reserve all rights to challenge the status of any entity listed therein as “utility” falling within the scope of section 366 of
                                                                        the Bankruptcy Code.
                                                                 28
                                                                        4
                                                                            Pursuant to Local Bankruptcy Rule 9075-1(a)(3), no separate motion for an expedited hearing is required.

                                                                                                                                     -3-
                                                                      Case 8:18-bk-13197-CB        Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                 Desc
                                                                                                    Main Document    Page 6 of 21


                                                                  1     estates immediately as set forth above.

                                                                  2              PLEASE TAKE FURTHER NOTICE that the Motion is based on the attached

                                                                  3     Memorandum of Points and Authorities, the Declaration of Douglas S. Cavanaugh in Support of

                                                                  4     First Day Motions (the “Cavanaugh Declaration”), the arguments of counsel, and other admissible

                                                                  5     evidence properly brought before the Court at or before the hearing on this Motion. In addition, the

                                                                  6     Debtors request that the Court take judicial notice of all documents filed with the Court in these

                                                                  7     Cases.

                                                                  8              PLEASE TAKE FURTHER NOTICE that any opposition or objection to the Motion must

                                                                  9     be filed with the Court and served on proposed counsel for the Debtors at the above address any time

                                                                 10     before the hearing or may be presented at the hearing on the Motion. Failure to timely object may be

                                                                 11     deemed by the Court to constitute consent to the relief requested herein.
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                                                                 12              PLEASE TAKE FURTHER NOTICE that the Debtors will serve this Notice and Motion
                                        COSTA MESA, CALIFORNIA




                                                                 13     and the attached Memorandum of Points and Authorities, and the Cavanaugh Declaration, on:
                                          ATTORNEYS AT LAW




                                                                 14     (1) the Office of the United States Trustee; (2) the creditors appearing on the lists filed in accordance

                                                                 15     with Fed. R. Bankr. P. 1007(d) by the Debtors unless and until an official committee of unsecured

                                                                 16     creditors (the “Committee”) is appointed, then in that event, to counsel to the Committee; (3) parties

                                                                 17     that file with the Court and serve upon the Debtors request for notice of all matters in accordance

                                                                 18     with Bankruptcy Rule 2002(i); (4) the United States of America; (5) the State of California, and

                                                                 19     (6) the Debtors’ secured creditors or their counsel of record.

                                                                 20              PLEASE TAKE FURTHER NOTICE that, to the extent necessary, the Debtors request

                                                                 21     that the Court waive compliance with Local Bankruptcy Rule 9075-1(a)(1) and approve service (in

                                                                 22     addition to the means of service set forth in such Local Bankruptcy Rule) by overnight delivery or

                                                                 23     email. In the event that the Court grants the relief requested by the Motion, the Debtors shall

                                                                 24     provide notice of the entry of the order granting such relief upon each of the foregoing parties and

                                                                 25     any other parties in interest as the Court directs. The Debtors submit that such notice is sufficient

                                                                 26     and that no other or further notice be given.

                                                                 27              WHEREFORE, for all the foregoing reasons, and such additional reasons as may be

                                                                 28     advanced at or prior to the hearing on this Motion, the Debtors respectfully request that the Court


                                                                                                                          -4-
                                                                      Case 8:18-bk-13197-CB       Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41               Desc
                                                                                                   Main Document    Page 7 of 21


                                                                  1     enter an order providing the following interim relief: (a) a determination that the Proposed Adequate

                                                                  2     Assurance constitutes adequate assurance of payment for future utility services as contemplated by

                                                                  3     sections 366(b) and (c)(3)(A) of the Bankruptcy Code; (b) a prohibition barring the Utility

                                                                  4     Companies from altering, refusing, or discontinuing services to the Debtors without further order of

                                                                  5     this Court; and (c) such other and further relief as the Court deems just and proper.

                                                                  6

                                                                  7       Dated:    August 30, 2018                    PACHULSKI STANG ZIEHL & JONES LLP
                                                                  8
                                                                                                                       By      /s/ William N. Lobel
                                                                  9                                                            William N. Lobel
                                                                                                                               [Proposed] Attorneys for Ruby’s SoCal
                                                                 10                                                            Diners, LLC, et al., Debtors and Debtors-
                                                                                                                               in-Possession
                                                                 11
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                                                                 12
                                        COSTA MESA, CALIFORNIA




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                                          ATTORNEYS AT LAW




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                                                                                                                         -5-
                                                                      Case 8:18-bk-13197-CB            Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                            Desc
                                                                                                        Main Document    Page 8 of 21


                                                                  1                               MEMORANDUM OF POINTS AND AUTHORITIES

                                                                  2                                             I.      STATEMENT OF FACTS
                                                                  3               A.      Jurisdiction and Venue
                                                                  4               This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This is
                                                                  5     a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408
                                                                  6     and 1409.
                                                                  7               B.      Background
                                                                  8               On August 29, 2018 (the “Petition Date”), the Debtors filed voluntary petitions for relief
                                                                  9     under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Debtors
                                                                 10     continue to operate their business and manage their affairs as debtors-in-possession pursuant to
                                                                 11     sections 1107(a) and 1108 of the Bankruptcy Code. No trustee, examiner, or committee has been
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                                                                 12     appointed in these chapter 11 cases (the “Cases”).
                                        COSTA MESA, CALIFORNIA




                                                                 13
                                          ATTORNEYS AT LAW




                                                                                  C.      General Description of the Debtor
                                                                 14               A detailed description of the Debtors’ background, structure, operations and recent financial
                                                                 15     history is detailed in the concurrently filed Cavanaugh Declaration.
                                                                 16               D.      Overview of the Debtors and Its Affiliates’ Business Operations
                                                                 17               The Debtors and their affiliates (referred to from time to time herein as the “Company”) own,
                                                                 18     operate and manage restaurants under the trade names “Ruby’s®,” “Ruby’s® Diner,” “The Ruby
                                                                 19     Restaurant Group,” “Ruby’s® Dinette” and “Ruby’s® Shake Shop.” The Company has operated
                                                                 20     Ruby’s® Diner restaurants since 1985 and is known as a purveyor of very popular burgers, fries and
                                                                 21     shakes.
                                                                 22
                                                                                II.     THE UTILITY COMPANIES AND PROPOSED UTILITY PROCEDURES
                                                                 23
                                                                        A.        The Utility Companies
                                                                 24
                                                                                  The Debtors receive essential utility services from certain utility companies. A list of the
                                                                 25
                                                                        utility companies (each, a “Utility Company” and collectively, the “Utility Companies”) and the
                                                                 26
                                                                        Debtors’ utility accounts is attached hereto as Exhibit A.1
                                                                 27

                                                                 28     1
                                                                          Although the Debtors believe that the list of Utility Companies set forth in Exhibit A hereto is complete, the Debtors
                                                                        reserve the right to supplement such list if they determine that any utility company has been omitted. The Debtors

                                                                                                                                  -6-
                                                                      Case 8:18-bk-13197-CB              Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                                Desc
                                                                                                          Main Document    Page 9 of 21


                                                                  1              At this critical time, uninterrupted water, electricity, gas, trash, sewer, local and long distance

                                                                  2     telephone services, cable, and internet services are essential to the ongoing operations of the

                                                                  3     Debtors’ business and to the preservation of the value thereof. Any interruption, however brief, in

                                                                  4     utility services to the Debtors will irreparably disrupt the Debtors’ operations.

                                                                  5              The Debtors routinely pays their regular monthly utility obligations when due. In addition,

                                                                  6     the Debtors’ chapter 11 filings occurred during the middle of the billing cycles for many, if not all,

                                                                  7     of the Utility Companies. As a result, there are likely outstanding prepetition amounts owed to the

                                                                  8     Utility Companies.

                                                                  9              The Debtors have and will have adequate cash to meet all of its necessary postpetition

                                                                 10     operating expenses on a current basis, including payments to the Utility Companies. The Debtors

                                                                 11     have specifically included in their budget amounts for payments to Utility Companies, including the
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                                                                 12     payment of the Utility Deposits (as defined below).
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                                                                 13     B.       Proposed Utility Procedures
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                                                                 14              The Debtors propose to allocate to each Utility Company adequate assurance of payment for
                                                                 15     its post-petition services in the form of segregated cash deposits (the “Utility Deposits” and each, a
                                                                 16     “Utility Deposit”) as listed on Exhibit A. The Utility Deposit will equal approximately one month
                                                                 17     of the Debtors’ estimated average postpetition monthly cost of prepetition services provided to the
                                                                 18     Debtors by such Utility Company. The average monthly invoice amount was determined by
                                                                 19     averaging the amounts of the twelve most recently received monthly bills from each Utility
                                                                 20     Company. The Debtors proposes to limit the Utility Deposits required to only those Utility
                                                                 21     Companies whose Utility Deposit would exceed $250. The Utility Deposits will be deposited in a
                                                                 22     segregated account allocated to the Utility Deposits within twenty-one (21) days after the Court’s
                                                                 23     entry of an order granting this Motion.
                                                                 24              In addition, the Debtors seek to establish reasonable procedures (the “Procedures”) by which
                                                                 25     a Utility Company may request further adequate assurance of future payment, in the event that such
                                                                 26     Utility Company believes that their Utility Deposit does not provide it with satisfactory adequate
                                                                 27

                                                                 28     further reserve all rights to challenge the status of any entity listed therein as a “utility” falling within the scope of
                                                                        section 366 of the Bankruptcy Code.

                                                                                                                                      -7-
                                                                      Case 8:18-bk-13197-CB        Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                Desc
                                                                                                   Main Document    Page 10 of 21


                                                                  1     assurance. Such Procedures would provide that:

                                                                  2                    (a)     If a Utility Company is not satisfied with the assurance of future payment

                                                                  3     provided by the Debtors, such Utility Company must serve a written request (the “Request”) upon

                                                                  4     the Debtors setting forth the location(s) for which Utility Services are provided, the account

                                                                  5     number(s) for such location(s), the outstanding balance for each account, a summary of the Debtors’

                                                                  6     payment history on each account, and an explanation as to why the Utility Company believes it is

                                                                  7     receiving inadequate assurance of payment.

                                                                  8                    (b)     The Request must be actually received by the Debtor’s counsel, William N.

                                                                  9     Lobel, Pachulski Stang Ziehl & Jones LLP, 650 Town Center Drive, Suite 1500, Costa Mesa,

                                                                 10     California 92626 within twenty one (21) days of the entry date of the order (the “Order”) granting

                                                                 11     this Motion (the “Request Deadline”);
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                                                                 12                    (c)     Without further order of this Court, the Debtors may enter into agreements
                                        COSTA MESA, CALIFORNIA




                                                                 13     granting additional adequate assurance to a Utility Company serving a timely Request, if the
                                          ATTORNEYS AT LAW




                                                                 14     Debtors, in their discretion, determine that the Request is reasonable;

                                                                 15                    (d)     If the Debtors believe that a Request is unreasonable, then it shall, within 30

                                                                 16     days after the Request Deadline, file a motion (a “Determination Motion”) pursuant to 11 U.S.C.

                                                                 17     § 366(c)(3) seeking an order that the Utility Deposit, plus any additional consideration offered by the

                                                                 18     Debtors, constitute adequate assurance of payment. Pending notice and a hearing on this Motion, the

                                                                 19     Utility Company that is the subject of the unresolved Request may not alter, refuse, or discontinue

                                                                 20     services to the Debtors or recover or setoff against a prepetition deposit, if any; and

                                                                 21                    (e)     The Utility Deposit shall be deemed adequate assurance of payment for any

                                                                 22     Utility Company that fails to make a timely Request.

                                                                 23            The Debtors reserve the right, without further order of the Court, to supplement the list of

                                                                 24     Utility Companies attached as Exhibit A if any Utility Company has been omitted. If the Debtors

                                                                 25     add a Utility Company to the list after the Court enters the proposed Order, the Debtors will serve a

                                                                 26     copy of this Motion and the Order on any Utility Company that is added to the list (the

                                                                 27     “Supplemental Service”). Concurrently with the Supplemental Service, the Debtors will file with

                                                                 28     the Court a supplement to Exhibit A showing the name of the Utility Company that is being added


                                                                                                                          -8-
                                                                      Case 8:18-bk-13197-CB        Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                 Desc
                                                                                                   Main Document    Page 11 of 21


                                                                  1     to the list. In addition, the Utility Company subject to the Supplemental Service will have

                                                                  2     twenty-one (21) days from the date of the Supplemental Service to request a Utility Deposit. If such

                                                                  3     Request is made, the Procedures outlined above shall apply to their consideration and resolution.

                                                                  4            Additionally, the Debtors propose that if the Debtors default on an obligation to pay a Utility

                                                                  5     Company for postpetition services and such default is not cured within twenty-one (21) days of the

                                                                  6     Debtors’ receipt of written notice of default, then the applicable Utility Company may file a motion

                                                                  7     requesting that the Debtors furnish further adequate assurance of future payment, and such motion

                                                                  8     shall be heard on an expedited basis.

                                                                  9            To the extent that any deposits are required to be segregated or delivered to any Utility

                                                                 10     Company, the Debtors request that the Order provide that such Utility Companies must immediately

                                                                 11     refund any Utility Deposit, or the Debtors may desegregate the respective Utility Deposit, in the
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                                                                 12     event that the Debtors terminate the services of any Utility Company and after all postpetition
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                                                                 13     invoices owed to that Utility Company have been paid. The Debtors believe that the immediate
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                                                                 14     refund or desegregation of a Utility Deposit in the case where services have been terminated and

                                                                 15     where postpetition bills have been paid is fair and appropriate under the circumstances because the

                                                                 16     Utility Company would no longer require adequate assurance of the Debtor’s future performance.

                                                                 17            Under the circumstances of these Cases in which the Debtors have no significant outstanding

                                                                 18     prepetition utility obligations and have already arranged to maintain current payment for postpetition

                                                                 19     services, the Debtors believe that the proposed Utility Deposits constitute adequate assurance of

                                                                 20     payment under § 366(c). The Debtors also propose to further protect the Utility Companies by

                                                                 21     establishing the Procedures provided for herein, pursuant to which any Utility Company can request

                                                                 22     additional adequate assurance by demonstrating facts and circumstances with respect to their

                                                                 23     postpetition services to the Debtors that merit greater protection.

                                                                 24            Continued and uninterrupted utility service is critical to the Debtors’ reorganization because

                                                                 25     the Debtors’ restaurants and facilities require utility services to operate the business and generate

                                                                 26     income. If any of the Utility Companies alters, refuses or disconnects service, even for a brief

                                                                 27     period, the Debtors’ business operations would be shut down and its revenues would be cut off,

                                                                 28     severely disrupting the Debtors’ cash flow, to the detriment of all parties.


                                                                                                                          -9-
                                                                      Case 8:18-bk-13197-CB        Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                  Desc
                                                                                                   Main Document    Page 12 of 21


                                                                  1                     III.   THE PROCEDURES OUTLINED IN THIS MOTION ARE

                                                                  2                            NECESSARY AND APPROPRIATE TO PREVENT
                                                                  3
                                                                                        INTERRUPTION OF UTILITY SERVICES TO THE DEBTORS
                                                                  4
                                                                               Under section 366(b) of the Bankruptcy Code, utilities may alter, refuse, or discontinue
                                                                  5
                                                                        service if the Debtors have not furnished adequate assurance of payment within 20 days of the
                                                                  6
                                                                        Petition Date. 11 U.S.C. § 366(b). Also, section 366(c) provides that a utility may alter, refuse or
                                                                  7
                                                                        discontinue service if the utility does not receive, within 30 days of a chapter 11 filing, adequate
                                                                  8
                                                                        assurance of payment for utility service that is satisfactory to the utility. 11 U.S.C. § 366(c)(2).
                                                                  9
                                                                               This Court, however, has the power to modify the form and amount of an assurance of
                                                                 10
                                                                        payment after notice and a hearing. 11 U.S.C. § 366(c)(2), (3)(A).
                                                                 11
                                                                        A.     The Proposed Utility Deposits Constitute Adequate Assurance of Future Performance
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                                                                 12
                                                                               for the Utility Companies
                                        COSTA MESA, CALIFORNIA




                                                                 13
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                                                                               The amount of any cash deposit or other form of adequate assurance is ultimately a matter to
                                                                 14
                                                                        be determined by the Court. While section 366(c)(2) of the Bankruptcy Code requires that the
                                                                 15
                                                                        adequate assurance of payment initially be satisfactory to the utility provider, section 366(c)(3) of
                                                                 16
                                                                        the Bankruptcy Code expressly authorizes the Court to modify the amount of such assurance after
                                                                 17
                                                                        notice and a hearing. See 11 U.S.C. § 366(c)(2), (3)(A). In making a determination regarding the
                                                                 18
                                                                        amount of assurance pursuant to section 366(c)(3) of the Bankruptcy Code, the Court may not
                                                                 19
                                                                        consider the following: (i) the absence of security before the petition date; (ii) the debtor's history of
                                                                 20
                                                                        timely payment; and (iii) the availability of an administrative expense priority to the utility company.
                                                                 21
                                                                        See 11 U.S.C. § 366(c)(3)(B). However, with few exceptions, section 366(c) leaves the
                                                                 22
                                                                        determination regarding the amount of deposit or other form of security as adequacy of assurance of
                                                                 23
                                                                        payment within the Court's discretion. See In re Pacific Gas & Elec. Co., 271 B.R. 626, 644 (N.D.
                                                                 24
                                                                        Cal. 2002) (“The use of the word ‘may’ in the second sentence [of section 366(b)] contemplates that
                                                                 25
                                                                        the decision of whether to order security lies within the discretion of the Bankruptcy Court.”); In re
                                                                 26
                                                                        Steinbach, 303 B.R. 634, 641 (Bankr. D. Az. 2004) (“Bankruptcy courts are afforded reasonable
                                                                 27
                                                                        discretion in determining what constitutes adequate assurance.”).
                                                                 28


                                                                                                                          - 10 -
                                                                      Case 8:18-bk-13197-CB        Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                Desc
                                                                                                   Main Document    Page 13 of 21


                                                                  1            Section 366 of the Bankruptcy Code requires a cash deposit or other enumerated form of

                                                                  2     security that is “adequate.” The Bankruptcy Code does not, however, define what is “adequate,”

                                                                  3     except that administrative priority is not sufficient as a form of adequate assurance of payment. See

                                                                  4     11 U.S.C. §§ 366(c)(1)(A)(B), (3)(B)(iii). Bankruptcy courts may consider factors that could

                                                                  5     minimize the amount of the deposit, including: (a) the right of the utility to terminate service upon

                                                                  6     nonpayment, (b) the chapter 11 estates’ liquidity, and (c) the estates’ net worth and ability to pay

                                                                  7     their postpetition obligations. See In re Best Products, 203 B.R. 51, 54 (Bankr. E.D. Va. 1996) (the

                                                                  8     court in Best Products approved a deposit of one-half the average monthly utility invoice, and

                                                                  9     permitted the debtor to apply prepetition deposits and prepayments to the postpetition adequate

                                                                 10     assurance deposits).

                                                                 11            When determining the amount of a required adequate assurance, bankruptcy courts should be
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                                                                 12     conservative in order to conserve an estates’ scarce financial resources. See In re Magnesium Corp.
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                                                                 13     of America, 278 B.R. 698, 714 (Bankr. S.D.N.Y. 2002) (“In deciding what constitutes ‘adequate
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                                                                 14     assurance’ in a given case, a bankruptcy court must 'focus upon the need of the utility for assurance,

                                                                 15     and to require that the debtor supply no more than that, since the debtor almost perforce has a

                                                                 16     conflicting need to conserve scarce financial resources.”), quoting Virginia Elec. & Power Co. v.

                                                                 17     Caldor, 117 F.3d 646 650 (2d Cir. 1997); see also In re Penn Jersey Corp., 72 B.R. 981, 985 (Bankr.

                                                                 18     E.D. Pa. 1987). By its terms, section 366 of the Bankruptcy Code, as amended, does not require that

                                                                 19     the deposit or other security be more than a nominal amount. See In re Crystal Cathedral Ministries,

                                                                 20     454 B.R. 124,131 (Bankr. C.D. Cal. 2011) (adequate assurance “is not to be confused with actual

                                                                 21     payment or an absolute guarantee of payment.”).

                                                                 22            Accordingly, the Debtors propose to allocate to each of the Utility Companies cash in an

                                                                 23     amount equal to approximately one month of the estimated average monthly cost as reflected on

                                                                 24     Exhibit A. The Debtors believe that such a deposit is more than adequate under the totality of the

                                                                 25     facts and circumstances. The Debtors believe that limiting the Utility Deposits to those Utility

                                                                 26     Companies whose Utility Deposit exceeds the amount of $250 is appropriate in these Cases because

                                                                 27     these amounts are small in the context of the Debtors’ operations, the Debtors have budgeted for the

                                                                 28     payment of the Utility Companies’ postpetition services, and the tracking of such small amounts


                                                                                                                         - 11 -
                                                                      Case 8:18-bk-13197-CB        Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                Desc
                                                                                                   Main Document    Page 14 of 21


                                                                  1     would add an unnecessary administrative burden to the Debtors’ already taxed financial staff.

                                                                  2     Moreover, should any Utility Company dispute the Debtors’ proposed treatment, such Utility

                                                                  3     Company has the right to request further adequate assurance of payment in accordance with the

                                                                  4     Procedures set forth herein. Under the circumstances, the Debtors submit that approval of the $250

                                                                  5     threshold in connection with the Utility Deposits be approved.

                                                                  6     B.      The Procedures Proposed by the Debtors Properly Balance the Interests of the Utility

                                                                  7            Companies and those of the Debtors

                                                                  8            By this Motion, the Debtors seek to implement an orderly process to resolve requests for

                                                                  9     adequate assurance of payment without unduly burdening the estates or the Court. The Procedures

                                                                 10     will provide an efficient and orderly process to resolve any Request without judicial intervention,

                                                                 11     unless absolutely necessary. The Procedures properly balance the interests of the Utility Companies
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                                                                 12     under section 366 of the Bankruptcy Code and those of the Debtors and their estates. First, the
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                                                                 13     Procedures protect the Debtors against the termination of critical utility services upon which their
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                                                                 14     business depends. To continue day-to-day operations, the Debtors must ensure that there is no

                                                                 15     termination of these Utility Services. Disruption of the Utility Services, even for a brief period,

                                                                 16     could have a devastating impact on the Debtors’ ability to maintain their operations.

                                                                 17            Second, the Procedures are consistent with the rights of the Utility Providers to adequate

                                                                 18     assurance of future payment pursuant to section 366 of the Bankruptcy Code. To the extent a Utility

                                                                 19     Company believes that, under the facts and circumstances, providing post-petition services to the

                                                                 20     Debtors warrants greater protection, it can request adequate assurance of payment. If the Debtors

                                                                 21     and Utilities Companies are unable to reach an agreement on the amount and form of adequate

                                                                 22     assurance within the parameters set forth above, such adequate assurance will be determined by this

                                                                 23     Court. Thus, the Procedures provide a mechanism for each Utility Company to request and obtain

                                                                 24     the adequate assurance of payment to which it is entitled pursuant to the Bankruptcy Code. Further,

                                                                 25     the Utility Companies will not be prejudiced by the continuation of their services. The Debtors have

                                                                 26     budgeted for post-petition payments to the Utility Companies. The Utility Companies are further

                                                                 27     protected by the provisions granting them an expedited hearing if there is a failure to cure a payment

                                                                 28     default within twenty-one (21) days after written notice of such default.


                                                                                                                         - 12 -
                                                                      Case 8:18-bk-13197-CB        Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                  Desc
                                                                                                   Main Document    Page 15 of 21


                                                                  1            In sum, the Procedures strike the appropriate balance of protecting the Utility Company

                                                                  2     against the risk of nonpayment without unduly burdening the Debtors’ chances of reorganization and

                                                                  3     protecting the Debtors against the termination of critical Utility Services. Approving the Procedures

                                                                  4     is entirely within the Court’s authority under section 366 of the Bankruptcy Code, and section 105(a)

                                                                  5     of the Bankruptcy Code, which states that the Court “may issue any order, process or judgment that

                                                                  6     is necessary or appropriate to carry out the provisions of this title.” See 11 U.S.C. § 105(a). The

                                                                  7     purpose of section 105(a) of the Bankruptcy Code is to “assure the bankruptcy court[’]s power to

                                                                  8     take whatever action is appropriate or necessary in aid of the exercise of their jurisdiction.”

                                                                  9     2 COLLIER ON BANKRUPTCY ¶ 105.01 (15th rev. ed. 2001). Because the proposed Procedures

                                                                 10     protect both the Debtors and the Utility Companies, they carry out section 366 of the Bankruptcy

                                                                 11     Code in a manner fully consistent therewith and are an appropriate exercise of this Court’s authority
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                                                                 12     under section 105(a) of the Bankruptcy Code. Accordingly, the Procedures should be approved.
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                                                                 13     C.     Waiver of the Stay Is Appropriate
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                                                                 14            Moreover, the Debtors seek a waiver of any stay of the effectiveness of the order approving

                                                                 15     this Motion. Pursuant to Rule 6004(h) of the Bankruptcy Rules, “[a]n order authorizing the use, sale

                                                                 16     or lease of property other than cash collateral is stayed until the expiration of 14 days after entry of

                                                                 17     the order, unless the court orders otherwise.” As set forth in the Motion, the payments proposed

                                                                 18     herein are essential to prevent immediate and irreparable harm to the Debtors’ business operations

                                                                 19     and prospects for reorganization. Accordingly, the Debtors submit that ample cause exists to justify

                                                                 20     a waiver of the fourteen (14) day stay imposed by Bankruptcy Rule 6004(h), to the extent that it

                                                                 21     applies.

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                                                                      Case 8:18-bk-13197-CB       Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                 Desc
                                                                                                  Main Document    Page 16 of 21


                                                                  1                                             IV.    CONCLUSION

                                                                  2            Based upon the foregoing, the Debtors respectfully request that the Court enter an order
                                                                  3     providing the following relief: (a) a determination that the Proposed Adequate Assurance constitutes
                                                                  4     adequate assurance of payment for future utility services as contemplated by sections 366(b) and
                                                                  5     (c)(3)(A) of the Bankruptcy Code; (b) a prohibition barring the Utility Companies from altering,
                                                                  6     refusing, or discontinuing services to the Debtors without further order of this Court; and (c) such
                                                                  7     other and further relief as the Court deems just and proper.
                                                                  8
                                                                          Dated: August 30, 2018                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                  9

                                                                 10                                                    By         /s/ William N. Lobel
                                                                                                                                  William N. Lobel
                                                                 11                                                               [Proposed] Attorneys for Ruby’s SoCal Diners,
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                                                                                                                                  LLC, et al., Debtors and Debtors-in-Possession
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                                        COSTA MESA, CALIFORNIA




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Case 8:18-bk-13197-CB   Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41   Desc
                        Main Document    Page 17 of 21




                                 EXHIBIT “A”
                    Case 8:18-bk-13197-CB        Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41         Desc
                                                 Main Document    Page 18 of 21

Ruby's Huntington Beach LTD
Utility name                Account Number     Contact      Avg Month Address            City            State   Zip
SoCal Gas                        2406434163    800‐427‐2000     $1,500 PO Box C          Monterey Park   CA      91756‐5111
Tiger Natural Gas Inc             240642416    918‐491‐6998       $370 Department 2192   Tulsa           OK           74182
Rainbow Disposal             3‐0605‐0003307    714‐847‐3581       $800 PO Box 78829      Phoenix         AZ      85062‐8829
Southern California Edison     2‐38‐185‐5659   800‐990‐7788     $3,500 PO Box 300        Rosemead        CA      91772‐0001
TPX Communications              106667925‐0    877‐487‐8722       $500 PO Box 509013     San Diego       CA      92150‐9013

                                                                $6,670




                                                                                                                 EXHIBIT "A"
                                                                                                                    Page 15
                       Case 8:18-bk-13197-CB           Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                   Desc
                                                       Main Document    Page 19 of 21

Ruby's Laguna Hills LTD
Utility name               Account Number    Contact      Comment         Avg Month    Address                  City          State       Zip
SoCal Gas                     12763007502    800‐427‐2000                  $     750   PO Box C                 Monterey Park CA          91756‐5111
TPX Communications             106667925‐0   877‐487‐8722                  $     600   PO Box 509013            San Diego     CA          92150‐9013
Southern California Edison   2‐38‐185‐5600   800‐990‐7788                  $     650   PO Box 300               Rosemead      CA          91772‐0001
El Toro Water District               17062   949‐837‐0660 Water and Sewer $      500   24251 Los Alisos Blvd.   Lake Forest   CA 92630
`
                                                         Total            $    2,500




                                                                                                                                         EXHIBIT "A"
                                                                                                                                            Page 16
                       Case 8:18-bk-13197-CB              Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41                        Desc
                                                          Main Document    Page 20 of 21

Ruby's Oceanside LTD
Utility name           Account Number    Contact      Comment        Avg Month Contact                          Address      City         State     Zip
SDGE                      52351366924    800‐336‐7343                    $1,500                                 PO Box 25111Santa Ana     CA        92799‐5111
Waste Management        0272026‐2539‐1   800‐596‐7444                      $700                                 PO Box 54106Los Angeles   CA        90054‐1065
TPX Communications         106667925‐0   877‐487‐8722                      $800                                 PO Box 50901San Diego     CA        92150‐9013
City of Oceanside               313328   760‐435‐4500 Water              $4,000 Financial Services Department   300 N. Coast Oceanside    CA              92054
City of Oceanside           4110133754   760‐435‐4500 Electrical thro    $4,000 Financial Services Department   301 N. Coast Oceanside    CA              92055

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                                                                       $11,000




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                                                                                                                                                     Page 17
                      Case 8:18-bk-13197-CB         Doc 11 Filed 08/30/18 Entered 08/30/18 12:19:41            Desc
                                                    Main Document    Page 21 of 21

Ruby's Palm Springs LTD
Utility name               Account Number    Contact      Comment   Avg Month    Address           City            State   Zip
SoCal Gas                     14987532166    800‐427‐2000                 $500   PO Box C          Monterey Park   CA      91756‐5111
TPX Communications             106667925‐0   877‐487‐8722                 $370   PO Box 509013     San Diego       CA      92150‐9013
Southern California Edison   2‐38‐185‐5874   800‐990‐7788               $2,500   PO Box 300        Rosemead        CA      91772‐0001
Tiger Natural Gas Inc           1498753216   918‐491‐6998                 $400   Department 2192   Tulsa           OK            74182
`
                                                                        $3,770




                                                                                                                            EXHIBIT "A"
                                                                                                                               Page 18
